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                               KILMAR ARMANDO ABREGO GARCIA, ET AL.                      ____ FILED ___ ENTERED
                                                                                         ____ LOGGED _____ RECEIVED

                                                        vs.                              12:21 pm, Jul 11 2025
                                                                                         AT GREENBELT
                                            KRISTI NOEM, ET AL.                          CLERK, U.S. DISTRICT COURT
                                                                                         DISTRICT OF MARYLAND
                                                                                                   TD
                                                                                         BY ______________Deputy

Civil No. PX 25-951                  AMENDED PLAINTIFFS’ EVIDENTIARY HEARING Exhibits



  Exhibit No.            Identification      Admitted         Witness             Description

           1                 July 10 2025   July 10 2025       Giles    ICE – ERO regarding
                                                                        Abrego Garcia dated
                                                                        4/23/2025
           2                 July 10 2025   July 10 2025       Giles    Email dated 7/9/2025 to All
                                                                        ICE Employees regarding
                                                                        Third Country Removals
                                                                        Following the Supreme
                                                                        Court’s Order in DHS v.
                                                                        D.V.D., No. 24A1153
           3                 July 11 2025   July 11 2025                Form I-797C – Notice of
                                                                        Action
           4                 July 11 2025   July 11 2025                South Sudan Travel
                                                                        Advisory




Exhibit List (Rev. 3/1999)
